                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

United States of America,                      )
                              Plaintiff,       )
                                               )
               v.                              )    No. 2:11-cr-04002-FJG-3
                                               )
Russell Neal Livengood,                        )
                              Defendant.       )


                            ACCEPTANCE OF PLEA OF GUILTY
                             AND ADJUDICATION OF GUILT

         Pursuant to the Report and Recommendation of United States Magistrate Judge Matt J.

Whitworth (Doc. #62 filed on February 27, 2012), to which no objection has been filed, the plea of

guilty to Counts 1 and 2 of the Indictment which was filed on January 13, 2011, is now accepted.

Defendant is adjudged guilty of such offense(s). Sentencing will be set by subsequent order of the

court.


                                                    /s/ Fernando J. Gaitan, Jr.
                                                    Fernando J. Gaitan, Jr.
                                                    Chief United States District Judge

Dated: March 16, 2012
Kansas City, Missouri




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